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                           UNITED STATES v. XAVIER PELKEY

                                 SYNOPSIS – COMPLAINT


Name:                                   Xavier Pelkey

Address:                                Waterville, Maine
(City & State Only)

Year of Birth and Age:                  2003 (18 years old)

Violations:                             Count 1:         Possession of unregistered destructive
                                                         devices.
                                                         26 U.S.C. § 5861(d).

Penalties:                              Count 1:         Class C felony. Not more than 10 years
                                                         imprisonment, and/or not more than a
                                                         $250,000 fine.
                                                         26 U.S.C. § 5871; 18 U.S.C.
                                                         § 3571(b)(3), (e).

Supervised Release:                     Count 1:         Not more than 3 years.
                                                         18 U.S.C. § 3583(b)(2).

Maximum Term of Imprisonment for        Count 1:         Not more than 2 years.
Violation of Supervised Release:                         18 U.S.C. § 3583(e)(3).

Maximum Additional Term of              Count 1:         3 years, less any term of imprisonment
Supervised Release for Violation of                      imposed upon the revocation.
Supervised Release:                                      18 U.S.C. § 3583(h).
Defendant’s Attorney:                   TBD

Primary Investigative Agency and Case   FBI
Agent Name:                             Special Agent Nathan Jacobs

Detention Status:                       Probable cause arrest was made, detention motion to be
                                        filed.

Foreign National:                       No

Foreign Consular Notification Provided: N/A

County:                                 Kennebec
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AUSA:                                 Craig M. Wolff

Guidelines apply? Y/N                 Yes

Victim Case:                          No

Corporate Victims Owed Restitution:   N/A

Assessments:                          $100.
                                      18 U.S.C. § 3013(a)(2)(A).
